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                        IN THE SOUTHERN DISTRICT OF ILLINOIS
                             UNITED STATES OF AMERICA

 DIEGO MILLER,

 WARLLEY SOARS                                         Case No:

 and                                                   Division:

 WARLEY SANTIAGO,

                Plaintiffs,

 vs.

 PAM TRANSPORT, INC.

 Serve:
 National Resident Agent Service, Inc.
 Sullivan, Hincks & Conway
 Daniel C. Sullivan
 120 West 22nd Street
 Suite 100
 Oak Brook, IL 60523

 and

 JAMES OLIVER DOTSON,

 Serve:
 Defendant
 4036 Maffitt Ave.
 St. Louis, MO 63113,



                Defendants.


                                         COMPLAINT
       COMES NOW Plaintiffs, Diego Miller, Warlley Soars, and Warley Santiago, by and

through their undersigned attorneys, and for their causes of action against Defendants PAM

Transport, Inc. and James Oliver Dotson, states as follows to the Court:

                                 GENERAL ALLEGATIONS
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           1.    Plaintiffs are residents of Colorado.

           2.    Defendant James Oliver Dotson is a resident of Missouri.

           3.    At all times relevant herein, Defendant PAM Transport, Inc. is an Arkansas

corporation registered with the Arkansas Secretary of State, with its principal place of business

and registered agent located at 297 West Henri de Tonti Boulevard, Tontitown, AR 72770.

           4.    This court has original jurisdiction over the matter and parties pursuant to 28 USC

§ 1332 as there is complete diversity amongst the parties and the value in controversy exceeds

$75,000, exclusive of interest and costs.

           5.    Defendant PAM Transport, Inc. owned the 2015 Great Dane CCC3 (“Great Dane”)

tractor being operated by James Oliver Dotson at the time of the collision.

           6.    At all times relevant to this case, Defendant James Olive Dotson was an agent

and/or employee (hereinafter to refer to statutory or otherwise) of defendant PAM Transport, Inc.

and was acting within the course and scope of his agency and/or employment

           7.    At the time of the collision referenced in this complaint, Defendant PAM Transport,

Inc. was registered with the Federal Motor Carrier Safety Administration as an interstate

commercial motor carrier.

           8.    At all times relevant, PAM Transport, Inc. was operating as an interstate

commercial motor carrier.

           9.    At all relevant times, PAM Transport, Inc. was operating as a for-hire motor carrier.

           10.   At all times relevant, PAM Transport, Inc. had authority to operate as a common

carrier.

           11.   At all times relevant herein and at the time of this crash, Defendant PAM Transport,

Inc. was a commercial motor carrier engaged in interstate commerce, transporting goods for hire

throughout the United States.
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       12.     At all times relevant herein and at the time of this crash, Defendant PAM Transport,

Inc. was acting individually and through its drivers, agents, servants, joint venturers, and/or

employees, each of whom were acting within the course and scope of their employment with

Defendant PAM Transport, Inc.

       13.     At all times relevant herein and at the time of this crash, Defendant James Oliver

Dotson was operating a tractor-trailer in the course and scope of his employment and agency with

Defendant PAM Transport, Inc.

       14.     Defendant PAM Transport, Inc. is liable for all acts and omissions of Defendant

James Oliver Dotson while he/it was operating within course and scope of employment and/or

agency, under the doctrine of respondeat superior.

       15.     Defendant PAM Transport, Inc., and its agents, servants, employees, and drivers,

including Defendant James Oliver Dotson, at all relevant times set forth herein, were subject to

the rules and regulations contained and set forth in Title 49, Code of Federal Regulations (Federal

Motor Carrier Safety Regulations).

       16.     In its relevant parts, the Motor Carrier Safety Regulations define “Motor Carrier”

as a for-hire motor carrier or a private motor carrier; including a motor carrier’s agents, officers

and representatives, as well as employees responsible for hiring, supervising, training, assigning,

or dispatching of drivers and employees concerned with the installation, inspection, and

maintenance of motor vehicle equipment and/or accessories; this definition includes the term

“employer.” 49 C.F.R. §390.5.

       17.     In its relevant parts, the Motor Carrier Safety Regulations define an “Employee” as

any individual, other than an employer, who is employed by an employer and who, in the course

of his or her employment directly, affects commercial motor vehicle safety. “Employee” includes

a driver of a commercial motor vehicle (including an independent contractor while in the course

of operating a commercial motor vehicle). 49 C.F.R. §390.5.
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       18.     At all times relevant to this case, Defendant James Oliver Dotson was a driver of

the Great Dane and therefore, an “employee,” as defined by the Motor Carrier Safety Regulations.

       19.     In its relevant parts, the Motor Carrier Safety Regulations define “Motor Vehicle”

as any vehicle, machine, tractor, trailer, or semi-trailer propelled or drawn by mechanical power

and used upon the highways in the transportation of passengers or property, or any combination

thereof determined by the Federal Motor Carrier Safety Administration. 49 C.F.R. §390.5.

       20.     At all times relevant to this case, the tractor-trailer driven by Defendant James

Oliver Dotson was a semi-trailer and therefore, a “motor vehicle,” as defined by the Motor Carrier

Safety Regulations.

       21.     In its relevant parts, the Motor Carrier Safety Regulations define an “Employer” as

any person engaged in a business affecting interstate commerce that owns or leases a commercial

motor vehicle in connection with that business, or assigns employees to operate it. 49 C.F.R.

§390.5.

       22.     At all times relevant to this case, Defendant PAM Transport, Inc. was an

“employer,” as defined by the Motor Carrier Safety Regulations.

       23.     At the time of this incident and at all times herein mentioned, Defendant James

Oliver Dotson was operating the Freightliner as a driver for Defendant PAM Transport, Inc.

       24.     On or about March 1, 2017, at approximately 2:10 a.m., Plaintiff Diego Miller was

operating a 2008 Chevrolet Express on westbound on Interstate 64 in Washington County, Illinois.

       25.     On March 1, 2017 at approximately 2:10 a.m., Plaintiffs Warlley Soars and Warley

Santiago were passengers in the 2008 Chevrolet Express being driven by Plaintiff Diego Miller.

       26.     At that time and place, Plaintiff Diego Miller was traveling in the left lane when

Defendant James Oliver Dotson proceeded to cross over the center line into the left lane violently

crashing into the side of the vehicle being driven by Diego Miller.

       27.     Defendant James Oliver Dotson then crossed the center line a second time again
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violently crashing into the vehicle being driven by Plaintiff Diego Miller causing Plaintiffs Diego

Miller, Warlley Soars and Warley Santiago to travel off the roadway to the left.

       28.     Plaintiffs Diego Miller, Warlley Soars and Warley Santiago continued to travel into

the center median and rolled over onto the driver’s side.

       29.     Westbound Interstate 64 at the crash location is a much traveled, open, and publicly

dedicated state roadway and thoroughfare in the State of Illinois.

       30.     Plaintiffs Diego Miller, Warlley Soars, and Warley Santiago suffered and continues

to suffer permanent and disabling injuries as a direct and proximate result of this incident.

       31.     At the time of the crash, the truck operated by Defendant James Oliver Dotson bore

the name of Defendant PAM Transport, Inc. as well as its DOT number and/or MC (operating

authority) number.

       32.     The negligence of Defendants PAM Transport, Inc. and James Oliver Dotson,

directly and proximately, caused or contributed to cause injuries to Plaintiffs Diego Miller, Warlley

Soars, and Warley Santiago as described in greater detail herein.

       33.     As a direct and proximate result of this crash and the direct and proximate result of

the negligence of PAM Transport, Inc., and its agents, servants, and employees, including James

Oliver Dotson, Plaintiff Diego Miller injured his head, neck, back, ribs, arm, shoulder, knee, eye

and chest.

       34.      As a direct and proximate result of this crash and the direct and proximate result

of the negligence of PAM Transport, Inc., and its agents, servants, and employees, including James

Oliver Dotson, Plaintiff Warley Santiago injured his head, neck, back and right shoulder.

       35.     As a direct and proximate result of this crash and the direct and proximate result of

the negligence of PAM Transport, Inc., and its agents, servants, and employees, including James

Oliver Dotson, Plaintiff Warlley Soars injured his face, right hand, shoulder, neck and back.
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          36.   As a direct and proximate result of this crash and the direct and proximate result of

the negligence of PAM Transport, Inc., and its agents, servants, and employees, including James

Oliver Dotson, Plaintiff Diego Miller has suffered pain and suffering and will continue to suffer.

          37.   As a direct and proximate result of this crash and the direct and proximate result of

the negligence of PAM Transport, Inc., and its agents, servants, and employees, including James

Oliver Dotson, Plaintiff Warley Santiago has suffered pain and suffering and will continue to

suffer.

          38.   As a direct and proximate result of this crash and the direct and proximate result of

the negligence of PAM Transport, Inc., and its agents, servants, and employees, including James

Oliver Dotson, Plaintiff Warlley Soars has suffered pain and suffering and will continue to suffer.

          39.   As a direct and proximate result of this crash and the direct and proximate result of

the negligence of Defendants PAM Transport, Inc. and its agents, servants, and employees,

including James Oliver Dotson, Plaintiff Diego Miller has incurred medical bills in excess of

$58,000.00 and will continue to incur medical expenses related to the treatment of injuries

sustained in the crash.

          40.   As a direct and proximate result of this crash and the direct and proximate result of

the negligence of Defendants PAM Transport, Inc. and its agents, servants, and employees,

including James Oliver Dotson, Plaintiff Warley Santiago has incurred medical bills in excess of

$65,000.00 and will continue to incur medical expenses related to the treatment of injuries

sustained in the crash.

          41.   As a direct and proximate result of this crash and the direct and proximate result of

the negligence of Defendants PAM Transport, Inc. and its agents, servants, and employees,

including James Oliver Dotson, Plaintiff Warlley Soars has incurred medical bills in excess of

$34,000.00 and will continue to incur medical expenses related to the treatment of injuries

sustained in the crash.
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                                             COUNT I
               NEGLIGENCE OF DEFENDANT JAMES OLIVER DOTSON

       COMES NOW Plaintiffs Diego Miller, Warlley Soars, and Warley Santiago (hereinafter

“Plaintiffs”) and fully incorporate and re-allege each and every paragraph set forth above as if

they were set forth herein and further states:

       42.     At the time of this crash, Defendant James Oliver Dotson negligently operated the

tractor-trailer that caused this incident on the above stated date and time by:

               a)      Driving too fast for conditions in violation of 625 ILCS 5/11-601(a);

               b)      Failing to reduce speed to avoid a collision in violation of 625 ILCS 5/11-
                       601(a);

               c)      Failing to keep a proper lookout;

               d)      Failing to keep his tractor-trailer within its lane of traffic;

               e)      Failing to take proper remedial action which could have
                       avoided this collision or minimized the impact;

               f)      Failing to reduce speed to avoid a collision;

               g)      Operating the tractor-trailer without adequate training
                       and experience;

               h)      Operating the tractor-trailer when not properly qualified to do so;

               i)      Driving while tired and/or fatigued;

               i)      Driving while under the unsafe side-effects of prescription medication;

               j)      Driving overly aggressive;


               m)      Failing to stop his tractor-trailer, slacken his speed, swerve or sound a
                       warning in an attempt to avoid colliding with Plaintiffs’ vehicle, when he
                       could and should have done so in the exercise of the highest degree of
                       reasonable care

               n)      Improper traffic lane usage

       43.     At least one of the negligent acts or omissions by Defendant James Oliver Dotson,
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as described in the above paragraphs and the below paragraphs, was a direct and proximate cause

of the crash in question and the resulting injuries to Plaintiffs.

        44.     As a direct and proximate result of the negligence of Defendant James Oliver

Dotson, Plaintiffs were seriously injured as described herein and has sustained damages, pain

and suffering and will sustain damages, pain and suffering in the future.

        45.     Defendant James Oliver Dotson knew or should have known that his conduct as

described herein created a high degree of probability of injury.

        46.     Defendant James Oliver Dotson was not properly qualified to operate the tractor-

trailer and did not have the required training and experience and was operating in violation of the

law and this behavior and conduct was reckless and shows a complete indifference and conscious

disregard for the safety of the motoring public, so as to entitle Plaintiffs to Aggravated (punitive)

Damages.

        47.     The operation of the tractor-trailer by Defendant James Oliver Dotson and the

manner in which it was operated on the public roadways, was willful, wanton, and reckless, and

shows complete indifference and conscious disregard for the safety of the motoring public, so as

to entitle Plaintiffs to Aggravated (punitive) Damages.

        48.     The conduct of Defendant James Oliver Dotson as described herein, specifically

including violations of pertinent rules of the road and the Federal Motor Carrier Safety

Regulations as listed within this Petition, as well as other acts and omissions of as described

herein, was willful, wanton, and reckless, and shows complete indifference and conscious

disregard for the safety of the motoring public, so as to entitle Plaintiffs to Aggravated (punitive)

Damages.

        WHEREFORE Plaintiffs Diego Miller, Warlley Soars, and Warley Santiago pray for
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judgment against Defendant James Oliver Dotson in a sum in excess of Seventy Five Thousand

Dollars ($75,000) exclusive of costs and interest, as is fair and reasonable to compensate

Plaintiffs for their injuries, plus aggravated (punitive) damages, and for such other relief this

Court deems just and proper under the circumstances.

                                             COUNT II
 STATUTORY EMPLOYMENT/LOGO/LEASE LIABILITY AGAINST DEFENDANT
                          PAM TRANSPORT, INC. TRUCKING CO.


       COMES NOW Plaintiffs and fully incorporates, and re-alleges each and every paragraph

set forth above as if they were set forth herein and further states:

       49.     Based upon all aforementioned allegations, Defendant PAM Transport, Inc.

Trucking Co. is vicariously liable for the negligence of Defendant James Oliver Dotson based

upon the doctrines of statutory employment, logo, and/or lease liability.

       WHEREFORE Plaintiffs pray for judgment against Defendant PAM Transport, Inc. in

a sum in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of costs and interest, as

is fair and reasonable to compensate Plaintiffs for their injuries, plus aggravated (punitive)

damages, and for such other relief this Court deems just and proper under the circumstances.




                                            COUNT III
      VICARIOUS LIABILITY AGAINST DEFENDANT PAM TRANSPORT, INC.
                                         TRUCKING CO.
       COMES NOW Plaintiffs and fully incorporates and re-alleges each and every paragraph

set forth above as if they were set forth herein and further states:

       50.     At all times relevant, Defendant James Oliver Dotson was acting in the course and

scope of his agency and/or employment with Defendant PAM Transport, Inc. Trucking Co.
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        51.      Based upon the prior allegations, Defendant PAM Transport, Inc. Trucking Co. is

 vicariously liable for the negligence of Defendant James Oliver Dotson based upon the doctrines

 of agency and respondeat superior.

        WHEREFORE Plaintiffs pray for judgment against Defendant PAM Transport, Inc. in

 a sum in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of costs and interest, as

 is fair and reasonable to compensate Plaintiffs for their injuries, plus aggravated (punitive)

 damages, and for such other relief this Court deems just and proper under the circumstances.




                                             COUNT IV
   INDEPENDENT NEGLIGENCE AGAINST DEFENDANT PAM TRANSPORT, INC.
                                          TRUCKING CO.

        COMES NOW Plaintiffs and incorporates and re-alleges each and every paragraph set

 forth above as if they were set forth herein and further states:

        52.      At all times relevant, Defendant PAM Transport, Inc. was operating as an

 interstate motor carrier pursuant to authority granted to it by the U.S. Department of

 Transportation.

        53.      Throughout its existence, Defendant PAM Transport, Inc. has, or should have

 been, aware of the existence of the Federal Motor Carrier Safety Regulations.

        54.      As an interstate motor carrier, Defendant PAM Transport, Inc. has a duty, to

 follow and comply with the Federal Motor Carrier Safety Regulations.

        55.      The various safety regulations included within Parts 390 – 397, of which

 Defendant PAM Transport, Inc. had a duty to follow, include, but are not limited to, the

 following:

              a. Defendant PAM Transport, Inc. had an independent duty to require observance by
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             its drivers of any duty or prohibition imposed upon the drivers by the Federal

             Motor Carrier Safety Regulations. 49 C.F.R. §390.11;

          b. Defendant PAM Transport, Inc. had a duty to not require or permit a driver,

             including Defendant James Oliver Dotson, to operate a commercial motor vehicle,

             while the driver’s ability or alertness is so impaired, or so likely to become

             impaired, through fatigue, illness, or any other cause, as to make it unsafe for

             him/her to begin or continue to operate the commercial motor vehicle. 49 C.F.R.

             §392.3;

          c. Defendant PAM Transport, Inc. had a duty to not allow or permit a driver,

             including Defendant James Oliver Dotson, to operate a commercial motor vehicle

             unless that person is qualified to drive a commercial motor vehicle. 49 C.F.R.

             §391.11.;

          d. Defendant PAM Transport, Inc. had an independent duty not to aid, abet,

             encourage or require any of its employees to violate the safety regulations

             contained within Chapter 390. 490 C.F.R. §390.13;

          e. Defendant PAM Transport, Inc. had an independent duty to prohibit its employees

             from driving a commercial vehicle unless the employee had first completed and

             furnished to Defendant PAM Transport, Inc. an application for employment that

             meets the requirements as set forth in 49 C.F.R. §391.21(b);

          f. Defendant PAM Transport, Inc. had an independent duty to make investigations

             and inquiries with respect to each driver it employs and to do so in the manner

             prescribed in 49 C.F.R. §391.23;

          g. Defendant PAM Transport, Inc. had an independent duty to obtain the motor
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             vehicle record of every driver it employs, including Defendant James Oliver

             Dotson, at least once every twelve months in determine whether that driver

             continues to meet the minimum requirements for safe driving or is disqualified to

             drive a commercial motor vehicle. 49 C.F.R. §391.25;

          h. Defendant PAM Transport, Inc. had an independent duty require each of its

             drivers, including Defendant James Oliver Dotson, to furnish it with a list of all

             violations of motor vehicle traffic laws and ordinances of which he/she has been

             convicted in the preceding 12 months. 49 C.F.R. §391.27;

          i. Defendant PAM Transport, Inc. had an independent duty to prohibit its

             employees, including Defendant James Oliver Dotson, from driving until the

             driver had successfully completed a road test and been issued a certificate of

             driver’s road test. 40. C.F.R. §391.31;

          j. Defendant PAM Transport, Inc. had an independent duty to ensure that its drivers,

             including Defendant James Oliver Dotson, were physically qualified to operate a

             commercial motor vehicle and that its drivers had undergone the necessary

             examinations in the required timeframes as set forth within the Federal Motor

             Carrier Safety Regulations. 40 C.F.R. §391 – Subpart E; and

          k. Defendant PAM Transport, Inc. had an independent duty to inspect, repair, and

             maintain, all of the motor vehicles subject to its control, including the motor

             vehicle operated by Defendant James Oliver Dotson on the day of the

             aforementioned crash, and to ensure that the motor vehicle and all of its parts and

             accessories were in proper operating condition at all times, including at the time

             of the aforementioned crash. 40 C.F.R. §396.3.
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        56.     That Defendant PAM Transport, Inc. had a duty to comply with the Federal

 Motor Carrier Safety Regulations including the specific aforementioned regulations.

        57.     That it is customary standard in the motor carrier industry to have in place an

 adequate safety program administered by competent and adequately trained safety personnel to

 ensure that the motor carrier and its drivers are adhering to the Federal Motor Carrier Safety

 Regulations, including but not limited the specifically aforementioned regulations.

        58.     That, at all times prior to the aforementioned collision, Defendant PAM

 Transport, Inc. failed to have in place an adequate safety program.

        59.     As a result of its inadequate and/or inexistent safety program, Defendant PAM

 Transport, Inc. violated numerous Federal Motor Carrier Safety Regulations including, but not

 limited to the specifically aforementioned regulations prior to the aforementioned collision

 involving Plaintiffs.

        60.     As a result of its inadequate and/or inexistent safety program, Defendant PAM

 Transport, Inc. allowed its drivers, including Defendant James Oliver Dotson, to violate

 numerous Federal Motor Carrier Safety Regulations including, but not limited to the specifically

 aforementioned regulations prior to the aforementioned collision involving Plaintiffs.

        61.     That Defendant PAM Transport, Inc.’s violation of numerous Federal Motor

 Carrier Safety Regulations, including the specifically aforementioned regulations created a

 danger to the health, welfare, and safety of the motoring public, including Plaintiffs.

        62.     Defendant PAM Transport, Inc. was thereby negligent in that it failed to

 implement an adequate safety program and it violated numerous Federal Motor Carrier Safety

 Regulations, including but not limited to the specifically aforementioned regulations.

        63.     Defendant PAM Transport, Inc. was thereby negligent in that it failed to

 implement an adequate safety program and it failed to ensure that its agents, employees and

 drivers, including Defendant James Oliver Dotson, complied with the Federal Motor Carrier
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 Safety Regulations, including but not limited to the specifically aforementioned regulations.

        64.     As a direct and proximate result of the independent negligence of Defendant PAM

 Transport, Inc., Plaintiffs were injured and sustained damages and will continue to be damaged

 in the manners previously described in this Petition.

        65.     Defendant PAM Transport, Inc. knew or had information from which they, in the

 exercise of ordinary care, could have known that such conduct as described herein created a high

 degree of probability of injury to the motoring public such as Plaintiffs.

        66.     The conduct of Defendant PAM Transport, Inc. as described herein, specifically

 including violations of Illinois state law and the various Federal Motor Carrier Safety

 Regulations was willful, wanton, and reckless, and shows complete indifference and conscious

 disregard for the safety of the motoring public, so as to entitle Plaintiffs to Aggravated (punitive)

 Damages.

        67.     Because of Defendant PAM Transport, Inc.’s willful, wanton, and reckless

 behavior, and for their indifference and conscious disregard for the safety of the motoring public,

 aggravated (punitive) damages are appropriate in this action in order to punish Defendant PAM

 Transport, Inc. and to deter others from similar conduct.

        68.     Defendant PAM Transport, Inc.’s reckless and intentional behavior, and their

 complete indifference and conscious disregard for the safety of the motoring public, directly and

 proximately caused the wreck and the resulting injuries to Plaintiffs described herein.

        WHEREFORE Plaintiffs pray for judgment against Defendant PAM Transport, Inc. in

 a sum in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of costs and interest, as

 is fair and reasonable to compensate Plaintiffs for their injuries, plus aggravated (punitive)

 damages, and for such other relief this Court deems just and proper under the circumstances.
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                                             COUNT V

           DIRECT NEGLIGENCE AGAINST DEFENDANT PAM TRANSPORT, INC.
           TRUCKING CO. BASED UPON NEGLIGENT HIRING/RETENTION

        COMES NOW Plaintiffs and incorporates and re-alleges each and every paragraph set

 forth above as if they were fully incorporated herein and further states:

        69.     At all times prior to the aforementioned collision, Defendant PAM Transport, Inc.

 had a duty, imposed by law and regulation, to diligently and adequately screen potential drivers

 to the extent mandated by the Federal Motor Carrier Safety Regulations.

        70.     Such duties include, but are not limited to:

                a)      To obtain a completed employment application before permitting an agent,

        servant, and/or employee drive its commercial motor vehicle. 49 C.F.R. §391.21;

                b)      To investigate the agents, servants, and/or employee's driver's employment

        record during the preceding three years by all reasonable means. 49 C.F.R.

        §§391.23(a)(2), 391.23(c);

                c)      To inquire into the agent's, servant's, and/or employee's driving record

        within 30 days after employment begins. 49 C.F.R. §391.23(a);

                d)      To require a successfully completed road test before commencing

        employment, and permitting the applicant, agent, servant, and/or employee to drive a

        commercial motor vehicle. 49 C.F.R. §391.31(a);

                e)      To investigate the driver’s safety performance history with Department of

        Transportation regulated employer during the preceding three years. 49 C.F.R.

        §391.23(2);

                f)      Ensure that its driver was physically qualified to operate a tractor-trailer

        and had a valid and current DOT medical examiner’s certificate. 49 C.F.R. §391.41; and
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                   g)     Ensure that its driver had no current diagnosis of high blood pressure

         likely to interfere with the ability to operate a commercial motor vehicle safely. 49

         C.F.R. §391.41(b)(6).

         71.       Defendant PAM Transport, Inc. had a duty to comply with all of the above and

 below listed Laws, Federal Regulations, Codes, and/or Missouri Statutes, so as to protect the

 general public, including the Plaintiffs, from the unsafe operation of commercial motor vehicles

 by its drivers.

         72.       Defendant James Oliver Dotson was unqualified to operate a commercial motor

 vehicle due to his driving history, inexperience, lack of skill, lack of training, lack of knowledge,

 and physical medical condition.

         73.       That, because of Defendant James Oliver Dotson’s aforementioned inadequacies,

 Defendant PAM Transport, Inc. should not have hired him to operate a commercial motor

 vehicle.

         74.       That Defendant PAM Transport, Inc. knew, or through the exercise of ordinary

 care should have known that Defendant James Oliver Dotson was unqualified to safely operate a

 commercial motor vehicle.

         75.       That by failing to properly and adequately screen and investigate its drivers,

 including Defendant James Oliver Dotson, before and during employment, Defendant PAM

 Transport, Inc. violated numerous Federal Motor Carrier Safety Regulations, including but not

 limited to those specifically identified in this count.

         76.       Had Defendant PAM Transport, Inc. obeyed the Federal Motor Carrier Safety

 Regulations, including but not limited to those specifically identified in this count, it could have

 learned that Defendant James Oliver Dotson was unqualified to safely operate a commercial

 motor vehicle.

         77.       Defendant James Oliver Dotson’s negligent actions on the day of the collision
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 with Plaintiffs were consistent with, related to, and a product of his aforementioned inadequacies

 in operating a commercial motor vehicle.

        78.     Defendant PAM Transport, Inc.’ actions and omissions in hiring Defendant James

 Oliver Dotson, including their violations of the Federal Motor Carrier Safety Regulations, was

 the proximate cause of the injuries and damages sustained by Plaintiffs resulting from the

 aforementioned motor vehicle collision.

        79.     Defendant PAM Transport, Inc.’ actions and omissions in hiring Defendant James

 Oliver Dotson, including their violations of the Federal Motor Carrier Safety Regulations were

 willful, wanton, and reckless, and demonstrated a complete indifference and conscious disregard

 for the law and for the safety of others, including Plaintiffs.

        80.     Defendant PAM Transport, Inc.’ willful, wanton, and reckless behavior evidenced

 a complete indifference and conscious disregard for the safety of the motoring public and

 aggravated (punitive) damages are appropriate in this action in order to punish Defendant PAM

 Transport, Inc. and to deter others from similar conduct.

        WHEREFORE Plaintiffs prays for judgment against Defendant PAM Transport, Inc. in

 a sum in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of costs and interest, as

 is fair and reasonable to compensate Plaintiffs for their injuries, plus aggravated (punitive)

 damages, and for such other relief this Court deems just and proper under the circumstances.



                                              COUNT VI

       DIRECT NEGLIGENCE AGAINST DEFENDANT PAM TRANSPORT, INC.
             TRUCKING CO. BASED UPON NEGLIGENT TRAINING

        COMES NOW Plaintiffs and incorporates and re-alleges each and every paragraph set

 forth above as if they were fully incorporated herein and further states:

        81.     Defendant PAM Transport, Inc. owed the general public, including Plaintiffs, a
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 duty to properly train its drivers, including Defendant James Oliver Dotson, on the safe operation

 of a tractor-trailer.

         82.      Defendant PAM Transport, Inc. failed to properly instruct Defendant James

 Oliver Dotson on the safe operation of a tractor-trailer.

         83.      Defendant PAM Transport, Inc. owed the general public, including Plaintiffs, a

 duty to properly train its drivers, including Defendant James Oliver Dotson, on the safety

 regulations set forth in the Federal Motor Carrier Safety Regulations.

         84.      At all times prior to the aforementioned collision, Defendant PAM Transport, Inc.

 had a duty, imposed by law and regulation, to diligently and adequately screen potential drivers

 to the extent mandated by the Federal Motor Carrier Safety Regulations.

         85.      Such duties include, but are not limited to:

                  a)     To require and verify that its drivers pass a knowledge and skills test as

         prescribed by the Federal Motor Carrier Safety Regulations. 49 C.F.R. §380.109 and 49

         C.F.R. §380.509;

                  b)     To train its drivers on the Federal Motor Carrier Safety Regulations

         pertaining to medical certification, medical examination procedures, general

         qualifications, responsibilities, and disqualifications. 49 C.F.R. §380.503;

                  c)     To ensure that its drivers have been properly trained and to show proof

         of that training with a training certificate. 49 C.F.R. §380.505;

         86.      Defendant PAM Transport, Inc. had a duty to properly instruct its drivers,

 including Defendant James Oliver Dotson on the rules as regulations as contained in Part 392

 of the Federal Motor Carrier Safety Regulations which pertain to the safe operation of a

 commercial motor vehicle.

         87.      Defendant PAM Transport, Inc. failed to properly instruct Defendant James
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 Oliver Dotson on the Federal Motor Carrier Safety Regulations, including those specifically

 referenced in this count.

        88.     Defendant PAM Transport, Inc. owed the general public, including Plaintiffs,

 a duty to provide ongoing safety courses to its drivers, including Defendant James Oliver

 Dotson.

        89.     Defendant PAM Transport, Inc. failed to provide adequate continuing safety

 courses to Defendant James Oliver Dotson.

        90.     Defendant PAM Transport, Inc. had a duty to comply with all of the above and

 below listed duties, so as to protect the general public, including the Plaintiffs, from the

 unsafe operation of commercial motor vehicles by its drivers.

        91.     Defendant PAM Transport, Inc. breached its duty to the general public,

 including the Plaintiffs, by its failing to properly train Defendant James Oliver Dotson,

 Defendant PAM Transport, Inc.’ tractor-trailer driver, who was unqualified, incompetent and

 should not have been permitted to operate a tractor-trailer.

        92.     Based on Defendant James Oliver Dotson’s driving history, inadequate

 experience, and training, Defendant PAM Transport, Inc. knew or had information from

 which defendant, in the exercise of ordinary care, should have known, that its driver

 operating its vehicle created a high degree of probability of injury to other persons operating

 or traveling in motor vehicles on public roads, streets and highways.

        93.     That Defendant PAM Transport, Inc. was negligent in failing to properly train

 its drivers, including Defendant James Oliver Dotson, on the safe operation of a commercial

 motor vehicle and the Federal Motor Carrier Safety Regulations.

        94.     That Defendant PAM Transport, Inc. was negligent in failing to provide

 continuing education on the safe operation of a commercial motor vehicle and on the Federal

 Motor Carrier Safety Regulations.
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        95.     That Defendant James Oliver Dotson’s aforementioned negligent actions

 and/or inactions were consistent with the fact that Defendant PAM Transport, Inc. failed to

 properly train him in the safe operation of a commercial motor vehicle and/or the adherence

 to the Federal Motor Carrier Safety Regulations.

        96.     These actions and omissions of Defendant PAM Transport, Inc. relating to this

 crash were willful, wanton, and reckless, and demonstrated a complete indifference and

 conscious disregard for the law and for the safety of others, including Plaintiffs.

        97.     Defendant PAM Transport, Inc.’ willful, wanton, and reckless behavior, and

 for its complete indifference and conscious disregard for the safety of the motoring public,

 aggravated (punitive) damages are appropriate in this action in order to punish Defendant and

 to deter others from similar conduct.

        98.     Plaintiffs' injuries were directly and proximately caused by Defendant PAM

 Transport, Inc.’ breach of and failure to comply with its duty to properly train Defendant

 James Oliver Dotson, its tractor-trailer driver.


        WHEREFORE Plaintiffs pray for judgment against Defendant PAM Transport, Inc. in

 a sum in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of costs and interest, as

 is fair and reasonable to compensate Plaintiffs for their injuries, plus aggravated (punitive)

 damages, and for such other relief this Court deems just and proper under the circumstances.




                                            COUNT VIII
       DIRECT NEGLIGENCE AGAINST DEFENDANT PAM TRANSPORT, INC.
                TRUCKING CO. BASED UPON NEGLIGENT SUPERVISION

        COMES NOW Plaintiffs and incorporates and re-alleges each and every paragraph set

 forth above as if they were fully incorporated in this count and further states:
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        99.     Defendant PAM Transport, Inc. owed the general public, including Plaintiffs, a

 duty to continuously evaluate its drivers’ performance, including through supervision, and to

 discharge an incompetent or unsafe driver before he/she injured the public or property.

        100.    Defendant PAM Transport, Inc. had a duty to not require or permit a driver,

 including Defendant James Oliver Dotson, to operate a commercial motor vehicle, while the

 driver’s ability or alertness is so impaired, or so likely to become impaired, through fatigue,

 illness, or any other cause, as to make it unsafe for him/her to begin or continue to operate the

 commercial motor vehicle. 49 C.F.R. §392.3.

        101.    Defendant PAM Transport, Inc. had a duty to inquire into the motor vehicle

 record of its drivers and give “great weight” to violations such as speeding or reckless driving.

 49 C.F.R. §391.25.

        102.    Defendant PAM Transport, Inc. had a duty to ensure that its drivers were

 continuously physically qualified to safely operate a tractor-trailer. 49 C.F.R. §391.41, 391.43.

        103.    Defendant PAM Transport, Inc. had a duty to maintain a driver qualification file

 for each driver it employs. 49 C.F.R. §391.51

        104.    Defendant PAM Transport, Inc. had a duty to maintain a driver investigation

 history file for each driver it employs. 49 C.F.R. §391.53.

        105.    Defendant PAM Transport, Inc. had a duty to not allow or permit its on-duty

 drivers to be possession of drugs as listed in 49 C.F.R. §392.4(a).

        106.    Defendant PAM Transport, Inc. had a duty to not schedule a run, nor permit,

 nor require the operation of any commercial motor vehicle between points in such a period of

 time as would necessitate the commercial vehicle being operated at speeds greater than those

 prescribed by law. 49 C.F.R. §392.6.

        107.    Defendant PAM Transport, Inc. had a duty to comply with all of the above and

 below listed duties, Rules, Regulations and codes, so as to protect the general public, including
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 the Plaintiffs, from the unsafe operation of commercial motor vehicles by its drivers.

        108.    Defendant PAM Transport, Inc. breached its above listing duties to the general

 public, including the Plaintiffs, by its failing to properly supervise Defendant James Oliver

 Dotson, Defendant PAM Transport, Inc.’ tractor-trailer driver, who was unqualified,

 incompetent and should have been discharged prior to this crash.

        109.    Based on Defendant James Oliver Dotson’s driving history, lack of supervision

 and continued retention by his employer, Defendant PAM Transport, Inc. knew or had

 information from which defendant, in the exercise of ordinary care, should have known, that its

 driver operating its vehicle created a high degree of probability of injury to other persons

 operating or traveling in motor vehicles on public roads, streets and highways.

        110.    These actions and omissions of Defendant PAM Transport, Inc. relating to this

 crash were willful, wanton, and reckless, and demonstrated a complete indifference and

 conscious disregard for the law and for the safety of others, including Plaintiffs.

        111.    Defendant PAM Transport, Inc.’ willful, wanton, and reckless behavior, and for

 its complete indifference and conscious disregard for the safety of the motoring public,

 aggravated (punitive) damages are appropriate in this action in order to punish Defendant and

 to deter others from similar conduct.

        112.    Plaintiffs’ injuries were directly and proximately caused by Defendant PAM

 Transport, Inc.’s breach of and failure to comply with its duty to properly train Defendant

 James Oliver Dotson, its tractor-trailer driver.


        WHEREFORE Plaintiffs pray for judgment against Defendant PAM Transport, Inc. in

 a sum in excess of Seventy-Five Thousand Dollars ($75,000) exclusive of costs and interest, as

 is fair and reasonable to compensate Plaintiffs for their injuries, plus aggravated (punitive)

 damages, and for such other relief this Court deems just and proper under the circumstances.
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                                    Respectfully submitted,

                                    SCHULTZ & MYERS, LLC

                                    /s/ Joshua P. Myers
                                    ___________________________
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